
Tucker, Judge.
The bond created a lien which could only be shaken by bom fide creditors; and the money contained in it was agreed to be given for the slaves, at the death of Edwards. This was conformable to the devise, which was not revoked by that transaction; and, as Lowry had possession during the testator’s life, the assent of the executor was not necessary : Or, if necessary, it might, under the circumstances, have been presumed. The conversion may be inferred from the evidence; because the court may make every conclusion which the jury might have made. It was not necessary to join the wife in the suit. Nelthrop v. Anderson, 1 Salk. 114. And the plaintiff was entitled to an action for the life estate in the property. I think, therefore, that the judgment of the district court ought to be reversed, and judgment entered for the appellant.
Fleming, Judge, Carrington, Judge, and Lyons, President, all concurred that the judgment of the district court should be reversed, and judgment entered for the appellant.
